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                               EXHIBIT 1

            AFFIDAVIT OF SPECIAL AGENT JEFFREY COMMANDER

     I, Jeffrey Commander, Special Agent of the United States
Drug Enforcement Agency, being duly sworn, depose and state as
follows :
     1.     I am a Special Agent with the United States Drug
Enforcement Administration ("DEA").        I joined the DEA in August
2005 and have received specialized law enforcement training.
Upon completion of my training, I was assigned to the DEA Boston
field office in January 2006.     I have been involved in at least
fifteen narcotics investigations involving the use of various
investigative techniques, including controlled purchases of
narcotics, the use of confidential informants and other
cooperators, and physical surveillance.       I have also been
involved in financial investigations, including investigations
targeting "bulk cash" smuggling.
     2.     Based upon my training and experience with large scale
marijuana transportation organizations, I have identified several
patterns these organizations use to transport narcotics and/or
proceeds trans-regionally. Typically, the organizations will
receive marijuana from sources of supply from Canada or Mexico or
from "home grows" within the United States and transport these
marijuana loads to urban areas within an established customer
base using trucks and/or trailers.       Usually, the marijuana is
then transported and parceled out to other large customers.
During this distribution process, members of the organization
typically utilize common hotels in and around the area of
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distribution while proceeds from the marijuana loads are brought
back to the supplier.      It is common for the "facilitator" or
"controller" of the marijuana load to wait until this illicit
collection is complete.       Upon completion, the facilitator will
store the bulk currency in a conveyance and transport it back to
higher members of the organization.
       3.   I am familiar with the circumstances of the offenses
described in this Affidavit.       This Affidavit is based upon my
personal knowledge and personal surveillance as well as
information communicated to me by witnesses or others
participating in the investigation, as well as on my review and
analysis of reports and other documentary evidence.
            I submit this affidavit in support of a complaint for
civil forfeiture against the following property:
            $572,204.00 in United States currency
            seized on December 13, 2006 in Weston,
            Massachusetts (the "Defendant Currency") .
            This affidavit is being submitted for the limited
purpose of establishing probable cause in support of the attached
verified complaint for forfeiture in rem.         In light of the
limited purpose for which this Affidavit is being submitted, I
have not included each and every fact known to me concerning this
investigation.
       6.   As described in more detail below, I have probable
cause to believe that the Defendant Currency is subject to
seizure and forfeiture pursuant to 21 U.S.C.        §   881(a)(6) and
§   881(b) because it represents moneys, negotiable instruments,
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securities, or other things of value furnished or intended to be
furnished by any person in exchange for a controlled substance or
listed chemical in violation of 21 U.S.C. Section       §   801, et sea.
(the "Controlled Substance Act"), proceeds traceable to such an
exchange, and/or moneys, negotiable instruments, and securities
used or intended to be used to facilitate any violation of the
Controlled Substance Act.
                             Investiuation

     7.   On December 12 and 13, 2006, members of DEA Task Force
2 and the Massachusetts State Police ("MSP") Essex County Drug
Unit conducted surveillance on the Hampton Inn Hotel ("Hotel")
located at 215 Wood Road, Braintree, Massachusetts.         As set forth
in more detail below, the surveillance resulted in the seizure of
$572,204 in United States Currency in Weston, Massachusetts.
     8.   On December 12, 2006, at approximately 1:30 p.m.,
surveillance officers saw a white male ("UM1") speaking on a cell
phone in the rear of the Hotel parking lot.       UM1 was standing
next to a white 2003 F-250 King Ranch pick-up truck (the "Truck")
chat had an attached white 1998 Sooner horse trailer (the
"Trailer") bearing Colorado plate numbers 531IBA and 707LLT
respectively. A query with the Colorado Department of Motor
Vehicles indicated that the Truck and Trailer were both
registered to Winston Conkling ("Conkling") .
     9.   Shortly thereafter, officers observed a U-Haul truck
being driven by a second white male ("UM2"), and bearing Arizona
plate number AB96781, pull up next to UM1.       At this time, UM1
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entered the U-Haul which then departed the Hotel parking lot.
Surveillance was maintained on the U-Haul while it traveled
northbound on Route 93 toward Boston, Massachusetts.
Surveillance was then terminated.
        10.   A query with the U-Haul company by the MSP Essex
County Drug Unit indicated that the U-Haul truck was rented out
of Colorado by James Maliawco ("Maliawco") and Corey Young
         .
(\\Young")
        11.   Surveillance was reestablished at the Hotel on
December 13, 2006, and at approximately 9:40 a.m., a light grey
2006 Lincoln Navigator (the "Navigator") bearing Massachusetts
plate number 48EN51 pulled into the Hotel parking lot.         A query
with the Massachusetts Registry of Motor Vehicles indicated that
the Navigator was owned by Hertz rental and a subsequent query
with Hertz determined that the Navigator had been rented by Adam
Koenigsberg ("Koenigsberg").     A short time later, a white male,
later identified as Koenigsberg, got out of the Navigator
carrying a duffel bag and entered the Hotel.        Approximately four
minutes later, Koenigsberg left the Hotel carrying the same
duffel bag and departed the parking lot in the Navigator.
        12.   A criminal records history check shows that
Koenigsberg was convicted in the Concord Massachusetts District
Court in 1990 of manufacturing marijuana, a Class D substance.
He was again convicted in the Concord Massachusetts District
Court of possession of marijuana on two separate occasions in
1989.    He was also convicted of possession of dangerous drugs in
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Boulder, Colorado in 1994, and was charged with
possession/distribution of marijuana in Arvada, Colorado in 2001.
        13.   Shortly after Koenigsberg left the Hotel, surveillance
agents interviewed Hotel management personnel as to the nature of
Koenigsberg's visit and also asked if Conkling was registered at
the Hotel.     According to Hotel management personnel, Conkling
paid cash for two rooms.       Room 428 was assigned on December 12,
2006 at 2:55 a.m. and checked out of on December 12, 2006 at 2:03
p.m.    Room 422 was assigned on December 12, 2006 at 12:06 p.m.
Hotel management personnel also stated that Koenigsberg used the
house phone to call room 422 but no one answered. At that point,
the Hotel clerk called room 422 and also received no answer.
        14.   At approximately 12:00 p.m., surveillance agents again
interviewed Hotel management personnel to inquire about the
status of room 422.      According to Hotel management personnel, the
occupants of room 422 were due to check out at noon on December
13, 2006 and had not yet done so.        Hotel management personnel
also indicated that the room appeared clean and unused, and they
were concerned about Conkling's Truck and Trailer still parked in
the rear of the Hotel parking lot.
        15.   Surveillance of the Hotel continued.       At approximately
12:40 p.m., a 1997 Land Rover (the "Land Rover") bearing
Massachusetts plate number ICAB55 pulled alongside the Truck.            A
query with the Massachusetts Registry of Motor Vehicles indicated
that the Land Rover was registered to Maliawco.          Officers saw a
white male, later identified as Maliawco, driving the Land Rover
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with another white male, later identified as Young, in the
passenger seat.   Maliawco and Young got out of the Land Rover
carrying two or three duffel bags.      Maliawco and Young opened a
door to the Trailer and placed the bags inside.
      16.   At approximately 1:18 p.m., the Navigator entered the
Hotel parking lot and pulled up next to the Truck and Trailer in
the rear of the lot.    Surveillance agents observed Koenigsberg
get out of the Navigator and hand Maliawco a duffel bag, and saw
Maliawco place the bag inside of the Trailer.        Approximately two
minutes later, the Navigator left the Hotel parking lot.
      17. At approximately 2:32 p.m., the Truck and the Land
Rover departed the Hotel lot.     A short time later, the Truck
returned to the lot and then departed with the Trailer in tow.
      18.   Based on my training and experience, as described
particularly in paragraph 2, supra, the conduct of Young,
Maliawco, and Koenigsberg discussed above is consistent with the
distribution of controlled substances and the collection of
proceeds from controlled substances.
      19.   At approximately 2:45 p.m., the Truck and Trailer were
observed in the South Shore Shopping Mall rear parking lot in
Braintree, Massachusetts.     The Truck then pulled away from the
Trailer and entered the lot of Sullivan Tire located in the South
Shore Mall parking lot.
      20.   Surveillance of the Trailer was maintained until the
Truck returned from Sullivan Tire at approximately 5:22 p.m. and
backed in front of the Trailer.      Young got out of the Truck and
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attached the Trailer to it.        The Truck and Trailer then departed
from the South Shore Mall lot.
         21.    Surveillance was maintained on the Truck and Trailer
after leaving the South Shore Mall lot until they were pulled
over on Route 1-90 in Weston, Massachusetts, at approximately
6:07 p.m., for a marked lane violation by MSP Trooper Charles
Kane.     Young was the only occupant in the Truck.        Young told
Trooper Kane that he was weaving because the Trailer was so big.
        22.    Trooper Kane observed that Young was very nervous and
that his hands were shaking. Trooper Kane asked Young why there
were no horses in the Trailer.         Young stated that his friend
dropped the horses off in Boston, Massachusetts, but Young did
not know where the horses went.         Young stated that he flew into
Boston two days ago (December 11, 2006) to drive the Truck and
Trailer back to Colorado.        However, Young showed Trooper Kane a
plane ticket that was dated December 12, 2006.
         23.    Trooper Kane asked Young for his social security
number.       Young appeared nervous and stated "this is getting bad".
Trooper Kane asked Young to step out of the Truck.            Young stepped
out of the Truck and appeared very nervous.          Trooper Kane asked
Young whether there was anything in the Trailer.           Young said he
did not know but said it was his boss, "Bill's", trailer.             Young
stated, "Bill flew back to Colorado from Boston."           Young told
Trooper Kane that he stayed at the Omni Parker House Hotel while
he was in Boston.
        24.    Trooper Kane asked Young about a side door on the aft
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cab section of the Trailer which had two locks.           Young became
very nervous when this side door was approached.           Young told

Trooper Kane that he did not have the keys to the locks on this
door.     When Trooper Kane attempted to open this door, Young
stretched his arms as though he was nervous and said "Oh
(expletive), this is bad."        Trooper Kane then told Young that he
appeared very nervous.       Young admitted to Trooper Kane that he
was nervous.
         25.   Trooper Kane removed his trained K-9, Riggs, from his
patrol car and led Riggs around the Truck and Trailer.'            Riggs
immediately alerted to the side door of the Trailer that had two
locks.     Trooper Kane and MSP Trooper Thomas Duane then opened
this door with a crowbar.        Just inside the door they found two
black duffle bags and a shoe box, each of which contained a large
sum of United States currency, later determined to be $572,204 in
United States currency (i.e., the Defendant Currency).            Trooper
Kane stepped inside of the aft cab and noticed that the carpet
was saturated with oil and also noticed that a window at the back
and a vent at the side were both sealed shut with duct tape.
Trooper Kane also found an empty large green duffle bag and two


     l ~ h eK-9, Riggs, is an eight year old Chez German Shepard that
was first certified in narcotics in April 2002 under the New
England State Police Administrative Consortium (N.E.S.P.A.C.)
standards following a six week training school.             Riggs is
maintenance-trained monthly and has been re-certified annually
under the same standards since 2002. Riggs has successfully found
narcotics numerous times with exterior alerts over the past five
years. On several occasions Riggs has alerted to narcotic odor and
large amounts of U.S. currency have been located.
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empty large red duffle bags, all with marijuana residue.
        26.   Trooper Kane informed Young about the money.       Young
responded, "I'm pissed at Jim and Bill."       Young told Trooper Kane
that the money must be from the horses that they sold.         Young
signed a form in the presence of Trooper Kane denying ownership
of the Defendant Currency.
        27.   Young provided Trooper Kane with a cellular phone
number for the owner of the Truck and Trailer, Conkling, whom he
had previously referred to as Bill.      A criminal history check
shows that Conkling was arrested for drug offenses in 1997 and
2001.     Trooper Kane called the number and asked for Conkling.
When Conkling responded, Trooper Kane identified himself and
explained that he had seized money from the Truck and Trailer.
Conkling hung up on Trooper Kane.      Trooper Kane then called back
and again spoke to Conkling.     Trooper Kane overheard Conkling say
"Jim, hold on a minute, they got the truck."        Conkling then told
Trooper Kane that he was in a bad area and hung up the phone.
Trooper Kane continued to call this number but received no
answer.
        28.   As a result of this stop, the Defendant Currency found
lnside the double locked side door of the Trailer was seized by
MSP, who subsequently turned it over to the DEA.
        29.   Based upon the facts stated above, I have probable
cause to believe that the Defendant Currency represents moneys,
negotiable instruments, securities, or other things of value
furnished or intended to be furnished by any person in exchange
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for a controlled substance or listed chemical in violation of the
federal drug laws, is proceeds traceable to such an exchange,
and/or is used or intended to be used to facilitate a violation
of the federal drug laws.          There is therefore probable cause to
believe that the Defendant Currency is forfeitable to the United
States of America pursuant to 21 U.S.C. S 881 (a)(6).




     Signed under the penalties of perjury this         29    day
                            - .-   -
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